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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN



RACHEL STENGARD,
           Plaintiff,
                                           PLAINTIFF’S COMPLAINT AND
     v.                                    DEMAND FOR JURY TRIAL
                                           (Telephone Consumer Protection
CAPITAL ONE BANK (USA), N.A.,              Act)
           Defendant.
                                       /

     RACHEL STENGARD (Plaintiff), by and through her attorney, alleges the

     following against CAPITAL ONE BANK (USA), N.A., (Defendant):

                                  INTRODUCTION

  1. Plaintiff brings this action on behalf of herself individually seeking damages

     and any other available legal or equitable remedies resulting from the illegal

     actions of Defendant, in negligently, knowingly, and/or willfully contacting

     Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone

     Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq.

                        JURISDICTION AND VENUE

  2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

     §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740

     (2012), holding that federal and state courts have concurrent jurisdiction over

     private suits arising under the TCPA.

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3. Venue is proper in the United States District Court for the Western District

   of Michigan pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within

   this District and a substantial part of the events or omissions giving rise to the

   herein claims occurred, or a substantial part of property that is the subject of

   the action is situated within this District.

                                   PARTIES

4. Plaintiff is a natural person residing in Gogebic County, in the city of

   Ironwood, Michigan.

5. Defendant is a Delaware corporation that conducts business in the state of

   Michigan. Defendant’s headquarters are located in McLean, Virginia.

6. At all times relevant to this Complaint, Defendant has acted through its agents

   employees, officers, members, directors, heir, successors, assigns, principals,

   trustees, sureties, subrogees, representatives and insurers.

                        FACTUAL ALLEGATIONS

7. Defendant placed collection calls to Plaintiff seeking and attempting to

   collect on alleged debts incurred through purchases made on credit issued by

   Defendant.

8. Defendant placed collection calls to Plaintiff’s cellular telephone at phone

   number (906) 285-33XX.




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9. Defendant placed collection calls to Plaintiff from phone numbers including,

   but not limited to (800) 955-6600, (800) 365-2024.

10. Per its prior business practices, Defendant’s calls were placed with an

   automated telephone dialing system (“auto-dialer”).

11. Defendant used an “automatic telephone dialing system”, as defined by 47

   U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect

   a consumer debt allegedly owed by Plaintiff, RACHEL STENGARD.

12. Defendant’s calls constituted calls that were not for emergency purposes as

   defined by 47 U.S.C. § 227(b)(1)(A).

13. Defendant never received Plaintiff’s “prior express consent” to receive calls

   using an automatic telephone dialing system or an artificial or prerecorded

   voice on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

14. On or about November 7, 2017, Plaintiff spoke with a representative at

   Defendant’s company (“Tierra”) and requested that Defendant cease calling

   Plaintiff’s cellular phone.

15. During the conversation on November 7, 2017, Plaintiff gave Defendant both

   her phone number and social security number to assist Defendant in accessing

   her account before asking Defendant to stop calling her cell phone.

16. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her

   cellular telephone and/or to receive Defendant’s calls using an automatic


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   telephone dialing system in her conversation with Defendant’s representative

   on November 7, 2017.

17. Despite Plaintiff’s request that Defendant cease placing automated collection

   calls, Defendant placed at least four hundred and five (405) automated calls

   to Plaintiff’s cellular telephone after November 7, 2017.

               FIRST CAUSE OF ACTION
  NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
                  PROTECTION ACT
                    47 U.S.C. § 227


18. Plaintiff repeats and incorporates by reference into this cause of action the

   allegations set forth above at Paragraphs 1-17.

19. The foregoing acts and omissions of Defendant constitute numerous and

   multiple negligent violations of the TCPA, including but not limited to each

   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.

20. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,

   Plaintiff is entitled to an award of $500.00 in statutory damages, for each and

   every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

21. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in

   the future.

             SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
            CONSUMER PROTECTION ACT
                 47 U.S.C. § 227 et. seq.

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22. Plaintiff repeats and incorporates by reference into this cause of action the

   allegations set forth above at Paragraphs 1-17.

23. The foregoing acts and omissions of Defendant constitute numerous and

   multiple knowing and/or willful violations of the TCPA, including but not

   limited to each and every one of the above cited provisions of 47 U.S.C. §

   227 et seq.

24. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

   227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,

   for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

   U.S.C. § 227(b)(3)(C).

25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in

   the future.

   WHEREFORE, Plaintiff, RACHEL STENGARD, respectfully requests

judgment be entered against Defendant, CAPITAL ONE BANK (USA), N.A.,

for the following:




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  26. For statutory damages of $500.00 multiplied by the number of negligent

     violations of the TCPA alleged herein (405); $202,500.00;

  27. Actual damages and compensatory damages according to proof at time of

     trial;

                          SECOND CAUSE OF ACTION

  28. For statutory damages of $1,500.00 multiplied by the number of knowing

     and/or willful violations of TCPA alleged herein (405); $607,500.00;

  29. Actual damages and compensatory damages according to proof at time of

     trial;

                          ON ALL CAUSES OF ACTION

  30. Actual damages and compensatory damages according to proof at time of

     trial;

  31. Costs and reasonable attorneys’ fees; and

  32. Any other relief that this Honorable Court deems appropriate.


                             JURY TRIAL DEMAND
  33. Plaintiff demands a jury trial on all issues so triable.

                                        RESPECTFULLY SUBMITTED,
Dated: September 5, 2018
                                        By: /s/ Jordan Z. Weiss
                                        Jordan Z. Weiss
                                        Jordan Z. Weiss, PLLC
                                        32000 Northwestern Highway, Suite 275
                                        Farmington Hills, MI 48334
                                        T: (248) 939-9979
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                                Rachel Stengard




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